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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,
      Plaintiff,
v.                                                  Case No. 4:23-cv-163-AW-MJF
RONALD D. DESANTIS, in his official
capacity as GOVERNOR OF FLORIDA,
et al.,
     Defendants.
_______________________________/
                       ORDER REGARDING SCHEDULE

      The court has considered the parties’ joint Rule 26(f) report (ECF No. 53), in

which the parties propose significantly different litigation schedules. It is not clear

that either proposal is reasonable under the circumstances.

      The court will establish a litigation schedule after resolution of the pending

motions to dismiss (ECF Nos. 49, 50). Briefing on those motions is set to be

completed August 9. ECF No. 48.

      In the meantime, the parties must exchange Rule 26(a)(1) disclosures by

August 21, 2023. Until otherwise ordered, they may engage in other discovery only

with the consent of the affected parties.

      SO ORDERED on July 31, 2023.

                                        s/ Allen Winsor
                                        United States District Judge
